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                   Nos. 23-35322, 23-35323, 23-35324, 23-35354

               IN THE UNITED STATES COURT OF APPEALS
                       FOR THE NINTH CIRCUIT

                         WILD FISH CONSERVANCY,
                                   Plaintiff/Appellee/Cross-Appellant,
                                     v.
JENNIFER QUAN, in her official capacity as Regional Administrator of the National
   Marine Fisheries Service; JANET COIT, in her official capacity as the Assistant
  Administrator for Fisheries of the National Marine Fisheries Service; NATIONAL
 MARINE FISHERIES SERVICE; GINA M. RAIMONDO, in her official capacity
   as Secretary of the United States Department of Commerce; UNITED STATES
                         DEPARTMENT OF COMMERCE,
                                        Defendants/Appellants/Cross-Appellees,
                                          and

        ALASKA TROLLERS ASSOCIATION and STATE OF ALASKA,
                             Intervenor-Defendants/Appellants/Cross-Appellees.

Appeal from the United States District Court for the Western District of Washington
                     No. C-20-417 (Hon. Richard A. Jones)

                 FEDERAL DEFENDANTS-APPELLANTS’
                     FIRST CROSS-APPEAL BRIEF

                                         TODD KIM
                                         Assistant Attorney General
Of Counsel:
                                         RACHEL HERON
SHEILA LYNCH                             REBECCA JAFFE
Attorney                                 COBY HOWELL
National Oceanic and Atmospheric         FREDERICK H. TURNER
   Administration                        THEKLA HANSEN-YOUNG
Seattle, WA                              Attorneys
MOLLY E. WATSON                          Environment and Natural Resources Division
Attorney                                 U.S. Department of Justice
National Oceanic and Atmospheric         Post Office Box 7415
   Administration                        Washington, D.C. 20044
Juneau, AK                               (202) 307-2710
                                         thekla.hansen-young@usdoj.gov
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                                 INTRODUCTION

      The Endangered Species Act (“ESA”) protects threatened Chinook salmon and

endangered Southern Resident killer whales. The salmon is prey for the whales, meaning

that Alaska’s management of the Chinook salmon fishery in state and federal waters—

the latter of which is subject to federal delegation and oversight—may affect both

species. The National Marine Fisheries Service (“NMFS”) concluded in a 2019

biological opinion that the federal government’s continued delegation of management

authority to Alaska (and other related federal actions) complies with the ESA with

regard to both species. Along with the opinion, NMFS included an incidental take

statement that exempted incidental take of threatened salmon and endangered killer

whales associated with the Chinook salmon commercial troll fishery from ESA liability,

essentially enabling the fishery to operate consistently with the ESA.

      The district court concluded that NMFS’s biological opinion was lacking in

certain respects, and NMFS is complying with the remand, which it expects to complete

by the end of November 2024. This appeal presents the question whether the district

court abused its discretion by vacating—as opposed to remanding without vacating—

the relevant portion of the incidental take statement that applied to commercial trolling

during the winter and summer fishing seasons. But for this Court’s order staying the

remedy order pending appeal, vacatur would have shuttered Alaska’s commercial troll

Chinook salmon fishery in the winter and summer seasons for as long as the remand

proceeded, with devastating economic impacts and only small benefits to killer whales.


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This Court should reverse the decision of the district court to vacate the incidental take

statement not only because the court improperly applied a presumption of vacatur, but

also because it abused its discretion by overestimating the impact of its chosen remedy

on killer whales and underestimating the disastrous economic consequences for Alaska

fishing communities.

                       STATEMENT OF JURISDICTION

             (a)    The district court had subject matter jurisdiction over this suit

under 28 U.S.C. § 1331 because the claims of plaintiff Wild Fish Conservancy (“the

Conservancy”) arose under three federal statutes, namely, the Administrative Procedure

Act (“APA”), 5 U.S.C. §§ 701, et seq.; the ESA, 16 U.S.C. §§ 1531, et seq., and the

National Environmental Policy Act (“NEPA”), 42 U.S.C. §§ 4321, et seq.

             (b)    The district court’s judgment was final because it resolved all the

Conservancy’s claims. 1 Excerpts of Record (“ER”) 2–3. This Court has jurisdiction

under 28 U.S.C. § 1291.

             (c)    The district court issued its remedy decision on May 2, 2023, 1-ER-

4–5, and entered judgment on May 4, 2023. 1-ER-2–3. The Defendant/Intervenor State

of Alaska noticed its appeal on May 3, 2023, and amended its notice on June 12, 2023.

8-ER-1899–1903. The Defendant/Intervenor Alaska Trollers Association noticed its

appeal on May 5, 2023. 8-ER-1910–12. NMFS and the remaining federal defendants1


1
 Besides NMFS, the federal defendants are Jennifer Quan, in her official capacity as
Regional Administrator of NMFS; Janet Coit, in her official capacity as the Assistant

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noticed their appeal on May 23, 2023. 8-ER-1904–09. The Conservancy cross appealed

on May 4, 2023. 8-ER-1913–16. The appeals are timely under Federal Rule of Appellate

Procedure 4(a)(1)(B).

                          STATEMENT OF THE ISSUE

      Whether the district court abused its discretion when it vacated the portion of

the 2019 biological opinion and incidental take statement that exempted from liability

under the ESA, 16 U.S.C. §§ 1538(a)(1)(B), 1532(19), 1536(o), the incidental take of

Southern Resident killer whales and Chinook salmon resulting from commercial

harvests of Chinook salmon during the winter and summer seasons of the troll fishery

in Alaska.

                           STATEMENT OF THE CASE
      A.     Statutory background

             1.     The Endangered Species Act

      Section 7 of the ESA mandates that federal agencies must ensure that their

actions are “not likely to jeopardize the continued existence of any endangered species

or threatened species.” 16 U.S.C. § 1536(a)(2). To satisfy this substantive mandate,

federal agencies must consult NMFS whenever the agency’s action “may affect” a listed

marine species. 50 C.F.R. § 402.14(a); see 16 U.S.C. § 1536(a)(2); see generally 50 C.F.R.

Pt. 402. Where NMFS itself proposes to take an action that may affect listed species,


Administrator for Fisheries of NMFS; Gina M. Raimondo, in her official capacity as
Secretary of the United States Department of Commerce; and the United States
Department of Commerce.

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NMFS is both the action and consulting agency. If the action under consultation is

likely to adversely affect listed species, the agencies must engage in formal consultation,

which culminates in the consulting agency issuing a biological opinion. See 50 C.F.R.

§§ 402.14(a), 402.14(h). Among other things, a biological opinion includes the

consulting agency’s opinion on whether the proposed action is “likely to jeopardize the

continued existence” of the species. Id. § 402.14(h).

      ESA Section 9 separately prohibits the “take” of a listed species by any person.

16 U.S.C. § 1538(a)(1)(B). “Take” is defined as “harass, harm, pursue, hunt, shoot,

wound, kill, trap, capture, or collect, or to attempt to engage in any such conduct.” Id.

§ 1532(19). When a consulting agency determines that the federal action under

consideration is not likely to jeopardize a listed species’ existence but is reasonably

certain to result in “take” of some individual members, the agency issues along with its

biological opinion an “incidental take statement” that identifies the extent of anticipated

incidental take, reasonable and prudent measures to minimize the extent of take, and

terms and conditions to implement the reasonable and prudent measures. Id.

§ 1536(b)(4); see generally 50 C.F.R § 402.14(h). Incidental take in compliance with the

incidental take statement is exempt from Section 9’s prohibition on take. Id. § 1536(o).

             2.     The National Environmental Policy Act

      NEPA is a procedural statute that directs federal agencies to evaluate and

disclose the environmental effects of, and alternatives to, proposed “major Federal

actions significantly affecting the quality of the human environment.” 42 U.S.C.


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§ 4332(2)(C). An agency’s analysis of environmental impacts is included in a document

referred to as an “environmental impact statement” or “EIS.” See 42 U.S.C. § 4332(C);

40 C.F.R. §§ 1508.11, 1502.10 (2019).2 An agency may prepare a shorter document

referred to as an “environmental assessment” (or “EA”) to determine whether an EIS

is necessary. 40 C.F.R. §§ 1501.4(b), 1508.9.

             3.     The Magnuson-Stevens Fishery Conservation and
                    Management Act

      The Magnuson-Stevens Fishery Conservation and Management Act provides

NMFS the authority to regulate fisheries in the United States’ Exclusive Economic

Zone, which extends from the seaward boundary of each coastal state to 200 nautical

miles from the coastline and is also referred to as the federal waters. 16 U.S.C.

§§ 1802(11), 1811(a), 1854, 1855(d). The Act empowers NMFS to review and

implement fishery management plans, which are developed and recommended by

Regional Fishery Management Councils. Id. § 1854(a). States can regulate fishing in the

Exclusive Economic Zone when the fishery management plan delegates management

to the State and when the State’s regulations are consistent with that plan. Id.



2
  The Council on Environmental Quality (“CEQ”) published a new rule in September
2020 revising earlier NEPA regulations, but NMFS’s actions at issue here were subject
to the earlier version of the regulations. Thus, all citations to CEQ regulations herein
refer to the regulations codified at 40 C.F.R. Part 1500 (2019).
In addition, NEPA itself was recently amended by Section 321 of the Fiscal
Responsibility Act of 2023, Pub. L. No. 118-5, 137 Stat. 10, 38–46 (2023), but the
amendments are not germane to this dispute.

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§ 1856(a)(3)(B). As relevant to this case, Alaska has been delegated authority by NMFS

to regulate the commercial troll Chinook salmon fishery in the relevant Exclusive

Economic Zone. 5-ER-884.

      B.     Southern Resident killer whales and Chinook salmon

      Killer whales, also known as orcas, are long-lived marine mammals. They are top

predators in the food chain and are the world’s most widely distributed marine mammal,

although they are most abundant in coastal habitats and high latitudes. See 70 Fed. Reg.

69,903-01, 69,904 (Nov. 18, 2005). They occur year-round in the waters of southeastern

Alaska, British Columbia, and Washington, among other places. Id. at 69,905. In the

eastern North Pacific region, killer whales have been classified into three different

groups—residents, transients, and offshore whales—with different genetics,

morphology, ecology, and behavior. Id. Resident whales occur in large, stable pods with

membership ranging from 10 to 60 whales. Id. There are different groups of resident

killer whales in the North Pacific—the Southern, Northern, Southern Alaska, Western

Alaska, and Western North Pacific residents. Id.

      At issue in this case is the Southern Resident killer whale. Southern Resident

killer whales include three pods of whales. These pods spend a significant amount of

time in inland waterways during the spring, summer, and fall, and move into offshore

coastal waters in the winter months. 5-ER-966; 6-ER-1357.

      Southern Resident killer whales were listed as an endangered “distinct population

segment” subject to the ESA’s protection in 2005. 16 U.S.C. § 1532(16); 70 Fed. Reg.


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at 69,907–09; 5-ER-962–64. Distinct population segments are discrete and significant

populations that are separated from other populations of the same taxon. 70 Fed. Reg.

at 69,907–08; see also Nw. Ecosystem All. v. U.S. Fish & Wildlife Serv., 475 F.3d 1136, 1138

(9th Cir. 2007). Southern Resident killer whales face various threats, including threats

to their habitat posed by contaminants, vessel traffic, sound, and limits on the quantity

and quality of prey. 70 Fed. Reg. at 69,908–09; 5-ER-968–76. NMFS has developed

conservation measures and research programs for Southern Resident killer whales to

aid in their recovery. 70 Fed. Reg. at 69,909; see also 5-ER-972; 5-ER-975; 6-ER-1194–

95. Southern Resident killer whale numbers increased between 1974 and 2011 to a total

of 87, and experienced further population growth in 2014 and 2015; however, the

population has since decreased to 74. 5-ER-962.

       Chinook salmon serve as the primary food source for Southern Resident killer

whales, though coho salmon contribute up to 40% of their diet in late summer months.

5-ER-968–69. Hatchery-produced salmon—i.e., salmon raised in a hatchery and then

released to the wild—are a significant component of the prey available to the Southern

Resident killer whales. 5-ER-968–69; 5-ER-972. While there is evidence that these

whales can identify Chinook salmon, there is no evidence that they distinguish between

wild and hatchery Chinook, both of which likely have the same caloric content and size

when they return to their spawning grounds. See 5-ER-972.

       NMFS has listed as threatened certain populations (known as “evolutionarily

significant units”) of Chinook salmon under the ESA, 16 U.S.C. § 1532(16). 5-ER-904–

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05. Four of these evolutionarily significant units are relevant here: the Lower Columbia

River, Upper Willamette River, Snake River fall-run, and Puget Sound. 4-ER-858; 5-

ER-907–12; 5-ER-931–33; 5-ER-938–41; 5-ER-947–52; 5-ER-990. Each evolutionarily

significant unit consists of both historical populations of salmon and salmon produced

in specified hatchery programs. 5-ER-908–09; 5-ER-931; 5-ER-938–39; 5-ER-048–49.

The recovery of these four evolutionarily significant units has been limited by numerous

factors, including degraded habitat, hydropower facilities, poor water quality, fishing,

and the release of hatchery-produced salmon (which can, at certain times and locations,

pose a risk to wild fish from competition or breeding, which reduces genetic diversity

and fitness). See, e.g., 5-ER-926–30; 5-ER-935–38; 5-ER-946; 5-ER-957; 5-ER-1106–18;

6-ER-1168–88; 2-ER-276 ¶¶ 7-8; 4-ER-663–67; 2-ER-276–77 ¶¶ 7-8; 2-ER-102–03

¶ 15; 4-ER-663-67.

      Chinook salmon, including the listed salmon at issue in this lawsuit, spawn and

rear in freshwater and migrate to the ocean, where they mature. 5-ER-890. They travel

substantial distances. The primary populations at issue here spawn in the Pacific

Northwest and migrate through Alaskan and Canadian waters. Most mature in 3-5 years

and return to their spawning ground in 4-5 years. Id.; 5-ER-889; 5-ER-1132; 5-ER-1193;

2-ER-306 ¶ 12.

      C.     The Pacific Salmon Treaty

      Because of migratory patterns, shown below, Chinook salmon that originate in

the United States are often caught by fisheries in Canada, and vice versa. 5-ER-880; 5-


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ER-890–92. Some Chinook salmon that originate off the coasts of Washington and

Oregon migrate to Alaska and are harvested in Alaska’s fisheries.




5-ER-890.

      To help manage conflicts that arose from this dynamic, in 1985 the United States

and Canada signed the Pacific Salmon Treaty, which established a management

framework for Pacific salmon and set upper limits on Chinook salmon harvest. 5-ER-

880–81; 4-ER-671–817 (Pacific Salmon Treaty, Jan. 28, 1985, T.I.A.S. No. 11091;

Pacific Salmon Treaty Act of 1985, Pub. L. No. 99-5, 99 Stat. 7 (1985)). The United

States and Canada most recently agreed upon an updated Chinook fishing regime in

2019 (the “2019 Agreement”), which set annual harvest limits for a ten-year period. 7-

ER-1618–1701. The limits for Southeast Alaska fisheries were reduced by 7.5 percent

in most years compared to the previous agreement made in 2009, which itself had

reduced historic harvest limits. 5-ER-898; 7-ER-1618–1701.



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      Commercial and recreational fishing for Chinook salmon in federal waters in

Southeast Alaska is governed by the fishery management plan for the salmon fisheries

in the Exclusive Economic Zone off Alaska, which was developed and recommended

by the North Pacific Fishery Management Council and approved by NMFS in 1979. 6-

ER-1402; see 16 U.S.C. § 1852(a)(1)(G). The fishery management plan was

comprehensively amended in 1990, in part to incorporate the limits from the 1985

treaty, and it delegated to Alaska management authority over sport and commercial troll

fishing for salmon in federal waters off the coast of Southeast Alaska. 6-ER-1402; see

50 C.F.R. § 679.3(f). NMFS subsequently reaffirmed its delegation of such authority in

an amendment to the fishery management plan, which is currently in effect for the

fisheries that occur in federal waters off Southeast Alaska. See 77 Fed. Reg. 75,570 (Dec.

21, 2012). NMFS maintains oversight of Alaska’s delegated management of the fisheries

in federal waters off Southeast Alaska to ensure management is consistent with the

fishery management plan. 7-ER-1462–66. The Alaska Department of Fish & Game sets

the annual catch limits each year consistent with the 2019 Agreement. 7-ER-1428–30;

7-ER-1432–34. Between 2011 and 2019, Alaska estimates that, on average, 14% of the

commercial Chinook salmon harvest occurred in federal waters. 7-ER-1615 ¶ 22.

      D.     The 2019 Biological Opinion

      In 2019, NMFS issued a biological opinion that considered the combined effects

of three federal actions on listed species including Southern Resident killer whales and

four evolutionarily significant units of threatened Chinook salmon (Puget Sound


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Chinook salmon, Upper Willamette River Chinook salmon, Lower Columbia River

Chinook salmon, and Snake River Fall-run Chinook salmon). 5-ER-879–90. The three

actions are: (1) the continued delegation of management authority to Alaska over

salmon fisheries in federal waters off Southeast Alaska, 5-ER-884–85; (2) federal

funding of Alaska’s implementation of the Treaty, 5-ER-883–87; and (3) federal funding

of a conservation program designed to benefit threatened Chinook salmon and killer

whales, 5-ER-887–90; 5-ER-1105–19.

      The conservation program had several components, including funding for

habitat restoration projects for threatened Puget Sound Chinook salmon. 5-ER-888; 5-

ER-1105–19. The component of the conservation program that is relevant here—the

prey increase program—involves federal funding for hatchery Chinook production

involving release of hatchery-raised salmon into the wild at strategic locations to serve

as additional prey for the killer whale. 5-ER-888; 5-ER-1118–19 The prey increase

program was projected to result in the release of millions of hatchery-raised young

salmon per year to increase the availability of prey for killer whales. 5-ER-888–89. At

the time the 2019 biological opinion issued, NMFS’s analysis of this conservation

program was considered “programmatic,” meaning that the agency assessed impacts of

the program at the framework (rather than implementation) level. See 5-ER-1105–19.

NMFS planned to assess future, site-specific projects that actually received funding

once the specifics of those projects became known, to determine whether the projects




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were adequately covered by an existing biological opinion or would require additional

consultation. 5-ER-888–89; 5-ER-1106–18; 6-ER-1167–1204.

      The biological opinion concluded that the three actions under consideration

were not likely to jeopardize the continued existence of either the threatened Chinook

salmon populations or the Southern Resident killer whale. 6-ER-1204.

      The biological opinion also included an incidental take statement that exempted

take resulting from the Southeast Alaska fisheries. Given that the fisheries’ primary

effect on the killer whale is through possible reduction in prey availability, NMFS used

the annual limit of Chinook salmon catch of the 2019 Agreement as a surrogate for

measuring the incidental take of killer whales caused by the fisheries. NMFS exempted

those fisheries only from the take associated with a reduction in prey available to the

killer whales; no other type of take of killer whales was either anticipated or exempted.

6-ER-1205–06. Consistent with regulations, NMFS did not exempt take of threatened

salmon populations associated with the prey increase program because the program was

evaluated at a programmatic level. See 50 C.F.R. § 402.14(i)(6). NMFS instead explained

that it would address any take associated with the prey increase program in site-specific

consultations on individual projects. 6-ER-1206.

      Under NEPA, NMFS did not analyze the effects of either the incidental take

statement or the prey increase program at the programmatic level. NMFS has, however,

since completed or identified applicable site-specific ESA consultations and NEPA

analyses for the specific hatchery programs that have received federal funding since the

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biological opinion issued in 2019. 2-ER-276 ¶ 5; 2-ER-297–99; 2-ER-100–01 ¶¶ 9–11;

2-ER-117–20; 4-ER-664 ¶ 15.

      E.     Proceedings below
      The Conservancy sued NMFS in March 2020 to challenge the biological opinion

and incidental take statement, raising several claims under the APA, ESA, and NEPA.

Alaska and a representative of the Alaskan commercial fishing industry (the Alaska

Trollers Association) intervened as co-defendants. In September 2021, a magistrate

judge issued a report and recommendation on the parties’ cross-motions for summary

judgment. 4-ER-614–55. The magistrate judge found that NMFS’s no-jeopardy

conclusion in the 2019 biological opinion was arbitrary and capricious—and that NMFS

therefore violated its duty under Section 7 of the ESA to ensure that its actions are not

likely to jeopardize listed species—because NMFS relied on the effects of mitigation

measures that were uncertain to occur. 4-ER-638, 646–47.

      Specifically, the magistrate judge found that NMFS erroneously relied on the

anticipated offsetting effects of the prey increase program to conclude that the actions

addressed in the biological opinion were not likely to jeopardize killer whales; the court

perceived the prey increase program to be too vaguely described and uncertain to

support a no-jeopardy finding. 4-ER-641–44. The magistrate judge also found that

NMFS had improperly “segmented” its analysis by taking the prey mitigation program

into account when considering the likely (beneficial) effects of agency action on the

killer whales, without simultaneously considering the effects of that program on wild


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Chinook salmon. 4-ER-644–46. The magistrate judge also held that NMFS violated

NEPA because it should have analyzed the effects of both the issuance of the incidental

take statement and the prey increase program. 4-ER-647–51. The district court adopted

the report in full in August 2022 over the parties’ objections. 4-ER-612–13.

      Remedy proceedings followed. In December 2022, the magistrate judge issued a

report and recommendation recommending partial vacatur of the incidental take

statement contained in the biological opinion to remedy the ESA and NEPA violations

that the court had identified at summary judgment. 1-ER-6–45. NMFS, Alaska, and the

Alaska Trollers Association presented evidence to the magistrate judge demonstrating

both that vacating the incidental take statement would cause devastating harm to the

fishery and that the previously uncertain prey increase program had definitively

materialized since 2019. See, e.g., 3-ER-505–22; 2-ER-253–321; 2-ER-228–48; 2-ER-

182–90; 1-ER-21–27 (discussing affidavits). Nevertheless, the magistrate recommended

vacatur of those “portions of the [biological opinion] concerning the incidental take

statement that authorizes ‘take’ of the Southern Resident Killer Whale and the Chinook

salmon resulting from commercial harvests of Chinook salmon during the winter and

summer seasons (excluding the spring season) of the troll fisheries.” 1-ER-7.

      Specifically, the magistrate judge believed that “circumstances in which a remand

without vacatur is appropriate are ‘rare’ or ‘limited’ ” because “the APA requires a

‘presumption of vacatur’ if an agency acts unlawfully and this presumption must be

overcome by the party seeking remand without vacatur.’ ” 1-ER-18–19; 1-ER-29. The

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magistrate further found that NMFS’s ESA and NEPA errors were “sufficiently serious

violations” that “undermine[d] central congressional objectives of the ESA and

NEPA.” 1-ER-31–33. The magistrate judge also focused on “potential environmental

disruption, as opposed to economic disruption” that would result from its remedy

decision, and believed that it should “tip the scale in favor of protecting listed species

in considering vacatur.” 1-ER-33–34 (internal quotations and citations omitted). The

judge concluded that the economic losses that would result from vacatur of the

incidental take statement “do not overcome the seriousness of NMFS’s violations given

the presumption of vacatur, the harm posed to the [killer whales] by leaving the

incidental take statement in place and the Court’s mandate to protect the endangered

species.” 1-ER-35.

      The judge found, by contrast, that significant disruptive environmental

consequences would result from vacatur or injunction of the prey increase program,

and that therefore remand without vacatur of the portion of the biological opinion

covering the prey increase program was appropriate. 1-ER-35–38. On May 2, 2023, the

district court adopted the report in full over the parties’ objections. 1-ER-4–5.

      Alaska, the Alaska Trollers Association, the Conservancy, and NMFS each

appealed. Alaska moved for a stay of the remedy order insofar as it vacated the portion

of the incidental take statement exempting take by the commercial troll fishery. The

Conservancy moved for an injunction pending appeal of the remedy order to the extent

that the order did not vacate the portion of the biological opinion relating to the prey

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increase program. On May 26, 2023, the district court denied the motions of Alaska

and the Conservancy. 2-ER-66–70. Alaska moved for a stay pending appeal in this

Court, which the Alaska Trollers Association and NMFS both supported. The

Conservancy likewise moved this Court to enjoin implementation of the biological

opinion as it pertained to the prey increase program.

      This Court stayed the district court’s judgment to the extent that it vacated the

portions of the biological opinion and incidental take statement relating to the

commercial harvests of Chinook salmon during the winter and summer seasons of the

troll fishery. 2-ER-47–51. This Court found that “the moving parties have established

a sufficient likelihood of demonstrating on appeal that the certain and substantial

impacts of the district court’s vacatur on the Alaskan salmon fishing industry outweigh

the speculative environmental threats posed by remanding without vacatur.” 2-ER-50.

This Court denied the Conservancy’s motion to enjoin implementation of the prey

increase program, “particularly in light of the district court’s finding that” halting the

program “would ultimately put the whales at further risk of extinction.” 2-ER-51.

                           SUMMARY OF ARGUMENT

      The district court abused its discretion when it vacated the portions of the

biological opinion and incidental take statement that exempted from liability under the

ESA, 16 U.S.C. §§ 1538(a)(1)(B), 1532(19), 1536(o), the incidental take of Southern

Resident killer whales and Chinook salmon resulting from commercial harvests of

Chinook salmon during the winter and summer seasons of the troll fishery in Alaska.


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      Under this Court’s precedent, vacatur of an agency action in response to a

statutory violation is an equitable remedy that requires a court to consider the

seriousness of the agency’s errors and vacatur’s disruptive consequences. A court

should evaluate these factors neutrally. The district court here, however, erroneously

presumed that vacatur is the appropriate remedy for the ESA and NEPA violations it

identified. This presumption impermissibly placed a thumb on the scale of vacatur.

      The court further erred by finding the errors made by NMFS to be serious

enough to warrant vacatur when the record before the court showed the opposite. An

error is sufficiently serious to warrant vacatur when the agency would not likely be able

to reach the same result on remand via additional or different reasoning. Here, the

district court found no fundamental flaws in the agency’s analysis that would preclude

it from adopting the same decision on remand with additional information. The court

instead held that NMFS had not adequately considered the potential impacts of its

decision on Southern Resident killer whales and ESA-listed salmon under the ESA and

NEPA, and that there was inadequate information to establish that the prey increase

program was certain enough to occur to qualify as mitigation. Since the district court’s

2019 merits ruling, however, the prey increase program has been implemented and

funded each year, as evidence submitted to the district court showed. NMFS has also

analyzed the environmental impacts of each hatchery program that it funds (or ensured

that existing environmental analysis is sufficient). This all shows that NMFS will be able

to offer additional explanation and adopt the same decision on remand.

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       Finally, the district court abused its discretion when it weighed the disruption

caused by vacatur against the incremental benefits. The disruptive consequences of

vacatur would be extraordinary. The record before the district court demonstrated that

vacatur would cause losses of $29 million each year in an industry that helps ensure the

livelihoods of thousands of people. Vacatur would further disrupt the complex

regulatory framework for managing fisheries, the balance struck by the United States

and Canada in the Pacific Salmon Treaty, and the balance struck by Congress between

Chinook salmon fisheries and killer whale preservation, in turn frustrating conservation

efforts by pitting fishing communities against killer whale conservation.

       On the other hand, any benefits to killer whales from vacating the incidental take

statement would be small and short-lived. Fishing in all Southeast Alaska salmon

fisheries during the remand period would reduce prey availability for killer whales by an

average of only 0.5% in the coastal waters where whales are generally present during

the winter and by an average of only 1.8% in inland waters where whales are generally

present during the summer. The reductions in prey expected to result from only the

winter and summer seasons of the commercial Chinook salmon troll fishery (which are

only some of the salmon fisheries in Southeast Alaska) would necessarily be lower and

would not, in NMFS’s expert opinion, jeopardize the Southern Resident killer whale,

particularly in light of the fact that the fish previously released as a result of the prey

increase program are becoming available to supplement the prey for killer whales.

NMFS expects to comply with the district court’s remand order by the end of

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November 2024. Taken together with the additional fish returning from prey increase

funding, fishing during this period will not jeopardize the Southern Resident killer

whale.

         Meanwhile, the district court’s order vacating the portion of the incidental take

statement relating to the Chinook salmon troll fishery would irreparably devastate

Southeast Alaskan communities. The district court abused its discretion by improperly

discounting the effects of vacatur and overestimating any potential benefits to killer

whales, and its order vacating the incidental take statement should be reversed.

                              STANDARD OF REVIEW

         A district court’s remedy decision is subject to review for abuse of discretion.

Cachil Dehe Band of Wintun Indians of Colusa Indian Cmty. v. California, 618 F.3d 1066, 1082

(9th Cir. 2010); Los Angeles Haven Hospice, Inc. v. Sebelius, 638 F.3d 644, 654 (9th Cir.

2011). “District courts abuse their discretion when they rely on an erroneous legal

standard or clearly erroneous finding of fact.” E. Bay Sanctuary Covenant v. Trump, 950

F.3d 1242, 1271 (9th Cir. 2020) (citation omitted). A remedy that is “overbroad” is an

“abuse of discretion.” California v. Azar, 911 F.3d 558, 582 (9th Cir. 2018) (quoting

Stormans, Inc. v. Selecky, 586 F.3d 1109, 1140 (9th Cir. 2009)).




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                                     ARGUMENT

I.     The district court’s decision to vacate was an abuse of discretion.

       The district court abused its discretion when it vacated the portion of the

biological opinion and incidental take statement applicable to the winter and summer

seasons of the Chinook commercial troll fishery in Southeast Alaska.

       A.     The district court misapplied the relevant standards.

       Instead of requiring the Conservancy to affirmatively demonstrate that vacatur

of the incidental take statement was the appropriate remedy, the district court

erroneously presumed that the incidental take statement should be vacated unless

NMFS showed that vacatur was not warranted. See, e.g., 1-ER-14, 29, 35. A court’s

decision to vacate an agency action is an equitable remedy.3 Nat’l Wildlife Fed’n v. Espy,

45 F.3d 1337, 1343 (9th Cir. 1995); In re Clean Water Act Rulemaking, 60 F.4th 583, 593–

94 (9th Cir. 2023) (describing vacatur as an exercise of equitable authority); United States

v. Texas, 143 S. Ct. 1964, 1985 (2023) (Gorsuch, J., concurring) (describing vacatur as


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   To the extent the courts have held that vacatur is the presumed remedy because
Section 706 of the APA provides that “reviewing court[s] shall” “hold unlawful and set
aside agency action” that is “arbitrary, capricious, an abuse of discretion, or otherwise
not in accordance with law,” 5 U.S.C. § 706, it is the position of the United States that
vacatur is not authorized by Section 706. See United States v. Texas, No. 22-58 (S. Ct.),
Gov’t Op. Br. 40–44; Gov’t Reply Br. 16–20. Because it is not authorized by the statute,
it cannot be considered a presumptive remedy for an APA violation. The federal
government acknowledges, however, that this Circuit’s precedent on APA remedies
controls at this stage of the proceedings. But see Texas, 143 S. Ct. at 1980–85 (Gorsuch,
J., concurring) (discussing whether vacatur is authorized by Section 706 of the APA and
stating that the Supreme Court “would greatly benefit from the considered view of our
lower court colleagues.”).

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an “expansive equitable power”); cf. Hecht Co. v. Bowles, 321 U.S. 321, 329 (1944)

(explaining that Congress enacted the APA against a background rule that statutory

remedies should be construed in accordance with “traditions of equity practice”). Thus,

vacatur should not be granted as a matter of course but only in accordance with the

traditional balancing of equitable considerations. If anything, “faithful application of

[equitable] principles suggests that an extraordinary remedy like vacatur would demand

truly extraordinary circumstances to justify it.” Texas, 143 S. Ct. at 1985.

       While vacatur has sometimes been described by this Court as the presumptive

remedy for an APA violation, see, e.g., Alliance for the Wild Rockies v. United States Forest

Service, 907 F.3d 1105, 1121 (9th Cir. 2018); 350 Montana v. Haaland, 50 F.4th 1254, 1273

(9th Cir. 2022), this presumption “invert[s] the proper mode of analysis,” Monsanto, 561

U.S. at 157. Equitable remedies do not “issue[] as of course,” but only where legal

remedies are inadequate and “the intervention of a court of equity” is required to ensure

against “irreparable injury.” Weinberger v. Romero-Barcelo, 456 U.S. 305, 312 (1982). A

party seeking equitable relief from a court must show entitlement to such relief.

Monsanto, 561 U.S. at 156–57.

       The Supreme Court’s decision in Monsanto, which addressed the circumstances

in which a court may issue an injunction, is instructive here. 561 U.S. at 156–57. The

district court in Monsanto ordered that the appropriate remedy for the government’s

NEPA violation was, among other things, to enjoin the government from deregulating

planting of genetically engineered alfalfa pending completion of the mandated

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environmental impact statement and to enter a nationwide injunction prohibiting

almost all future planting of genetically engineered alfalfa. Id. at 156. The petitioners

argued that the lower courts had erroneously assumed that an “injunction is generally

the appropriate remedy for a NEPA violation” that “may be withheld” only “in unusual

circumstances.” Id. at 157. The Supreme Court agreed, explaining that the

“presum[ption] that an injunction is the proper remedy for a NEPA violation except in

unusual circumstances” erroneously “invert[s] the proper mode of analysis.” Id. A court

should not “ask whether there is a good reason why an injunction should not issue;

rather, a court must determine that an injunction should issue under the traditional four-

factor test” governing injunctions. Id. at 158 (emphasis in original). In other words,

there should be no “thumb on the scales” in favor of equitable relief; the court should

instead carefully consider each equitable factor to determine whether the party seeking

relief has demonstrated entitlement. Id. at 156–57; see also City of Harrisonville, Mo. v. W.

S. Dickey Clay Mfg. Co., 289 U.S. 334, 337–38 (1933) (“an injunction is not a remedy

which issues as of course”).

       Despite language suggesting vacatur should be presumed, this Circuit has also

held that courts are not mechanically “required to set aside every unlawful agency

action.” Nat’l Wildlife Fed’n, 45 F.3d at 1343; see also United States v. Afshari, 426 F.3d

1150, 1156 (9th Cir. 2005) (explaining that it is “well established” that the APA does




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not compel vacatur upon the finding of a legal violation or procedural flaw).4 Rather,

this Court should look to the two factors described in Allied-Signal, Inc. v. U.S. NRC,

988 F.2d 146, 150–51 (D.C. Cir. 1993) to determine whether vacatur is appropriate. See

California Communities Against Toxics v. U.S. EPA, 688 F.3d 989, 992 (9th Cir. 2012). A

court must first consider the seriousness of the agency’s errors and, second, the

disruptive consequences that would result from vacatur. Id. Courts may also consider

the consequences to the environment, National Family Farm Coalition v. U.S. EPA, 966

F.3d 893, 929 (9th Cir. 2020), as well as the economic “disrupt[ion] to the [affected]



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  Indeed, remand to agencies without vacatur is common. See, e.g., Pac. Bell v. Pac. W.
Telecomm. Inc., 325 F.3d 1114, 1123 (9th Cir. 2003) (allowing agency actions to remain
in place pending completion of remand, even where the actions were found to be
arbitrary and capricious); WildEarth Guardians v. Steele, 545 F. Supp. 3d 855, 883 (D.
Mont. 2021) (stating in a biological opinion and incidental take statement challenge that
the “underlying agency action may be ‘left in place while the agency reconsiders or
replaces the action’ ”) (citing Humane Soc’y of U.S. v. Locke, 626 F.3d 1040, 1053 n.7 (9th
Cir. 2010)); Inst. for Fisheries Res. v. U.S. Food & Drug Admin., 499 F. Supp. 3d 657, 669
(N.D. Cal. 2020) (declining to vacate where the agency had not fully analyzed potential
impacts but had taken precautionary steps, vacatur would result in wasteful loss of
property and animal life, and the agency could cure defects on remand); Nat’l Wildlife
Fed. v. NMFS, 839 F. Supp. 2d 1117, 1129 (D. Or. 2011) (holding that “equity can
authorize the district court to keep an invalid [action] in place during any remand if it
provides protection for listed species within the meaning of the ESA”); Am. Great Lakes
Ports Ass’n v. Schultz, 962 F.3d 510, 519 (D.C. Cir. 2020) (remanding without vacatur
where vacatur would “disrupt settled transactions”); Grand Canyon Tr. v. U.S. Bureau of
Reclamation, 623 F. Supp. 2d 1015, 1041–43 (D. Ariz. 2009) (finding biological opinion
arbitrary and remanding for reconsideration); Nat’l Wildlife Fed’n v. NMFS, 254 F. Supp.
2d 1196, 1215 (D. Or. 2003) (remanding biological opinion without vacatur, to give
NMFS an opportunity to consult on identified defects); Columbia Snake River Irrigators
Ass’n v. Evans, No. CV 03–1341–RE, 2004 WL 1240594, at *1 (D. Or. June 3, 2004)
(expressly stating that the court “did not order the [biological opinion in Nat’l Wildlife
Fed’n v. NMFS, 254 F. Supp. 2d 1196] vacated, but remanded it”).

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industries,” American Water Works Ass’n, 40 F.3d at 1273. See also California Communities,

688 F.3d at 993–94 (considering environmental and economic consequences). That is,

there is an equitable balancing of factors rather than application of a presumption.

       Although the district court here acknowledged that it was required to balance the

foregoing factors, the court nevertheless committed the same error identified in

Monsanto by erroneously presuming that vacatur was the correct remedy, 1-ER-14, 29,

35, when, in fact, “[n]o such thumb on the scales is warranted,” 561 U.S. at 157. The

court instead should have neutrally considered whether the relevant equitable

considerations favor vacatur, in light of the record compiled by the parties. This is

particularly true when that relief substantially affects entities beyond the defendant

federal agency, as is the situation here. See Texas, 143 S. Ct. at 1985–86 (Gorsuch,

concurring) (cautioning that “a district court should ‘think twice—and perhaps twice

again—before granting’ ” sweeping relief in the form of vacatur) (citation omitted).

       In sum, to the extent that the district court weighted the scale in favor of vacatur,

rather than placing the burden of showing entitlement to vacatur on the Conservancy

and neutrally considering the specific facts before it, that was error.

       B.     The court erred in concluding the agency’s errors were
              serious.

       As discussed above, the district court’s proper role under this Court’s precedent

was to weigh the factors set out in Allied Signal, the first of which is the seriousness of

the agency’s “deficiencies (and thus the extent of doubt whether the agency chose



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correctly).” Allied-Signal, 988 F.2d at 150–51. To evaluate the seriousness of an agency’s

errors, courts consider “whether the agency would likely be able to offer better

reasoning or whether by complying with procedural rules, it could adopt the same rule

on remand, or whether such fundamental flaws in the agency’s decision make it unlikely

that the same rule would be adopted on remand.” Nat’l Fam. Farm Coalition, 966 F.3d at

929 (quotations and citation omitted); see Pollinator Stewardship Council v. EPA, 806 F.3d

520, 532 (9th Cir. 2015) (also relevant to the analysis is “whether by complying with

procedural rules, [the agency] could adopt the same rule on remand, or whether such

fundamental flaws in the agency’s decision make it unlikely that the same rule would be

adopted on remand.”); see also Allied-Signal, 988 F.2d at 150–51. The district court

abused its equitable discretion here: first, by automatically assuming that NMFS’s errors

were serious enough to warrant vacatur simply because killer whales are endangered

and, second, by ignoring or giving unreasonably little weight to important facts in the

judicial record. The record compels a finding that it is likely that NMFS will be able to

issue the same incidental take statement on remand after additional explanation and

therefore NMFS’s errors were not serious. This factor did not favor vacatur, and the

district court erred in concluding otherwise.

      The court acknowledged that it was at least possible that NMFS would be able

to reach the same result on remand. 1-ER-41. It nevertheless held that the legal errors

it identified were serious because (1) the ESA requires the agency to ensure against the

jeopardy of listed species, (2) the agency did not comply with the ESA or NEPA (and

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therefore undermined statutory objectives), and (3) killer whales remain at a high risk

of extinction. 1-ER-32–33. But not every legal error requires an agency’s decision to be

vacated; that is true even when the decision involves a listed species. When considering

the seriousness of the errors, the district court should have considered only whether

NMFS may adopt the same decision after conducting additional analysis. See, e.g., Nat’l

Fam. Farm Coal. v. U.S. EPA, 966 F.3d 893, 929 (9th Cir. 2020) (holding that an error

under the Federal Insecticide, Fungicide, and Rodenticide Act—failing to consider

harm to monarch butterflies caused by killing milkweed—was not serious where the

agency was likely to be able to adopt the same outcome on remand).

       The record compels a conclusion that NMFS is, in fact, likely to be able to adopt

the same decision on remand. One of the district court’s central reasons for finding an

ESA violation was the perception that NMFS relied on the anticipated benefits of the

prey increase program despite uncertainties about future funding and details of

implementation. 1-ER-31 (citing 4-ER-640–47). NMFS had examined the prey increase

program in the biological opinion at a framework level that enabled it to perform a

broad-scale analysis of the program’s benefits and impacts. See, e.g., 5-ER-889; 6-ER-

1304; 6-ER-1318–25. NMFS also committed to conducting additional, more detailed

analysis under the ESA and NEPA as necessary and noted that it could always reinitiate

consultation if there was inadequate funding and a corresponding need to develop

additional mitigation for killer whales. See, e.g., 5-ER-1106, 1114, 1119.




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       This level of detail and commitment to conduct additional studies did not satisfy

the district court as to the merits. Significantly, however, the district court did not find

that there was a fundamental flaw in the agency’s ultimate determination that the

Chinook salmon troll fishery in Alaska would not jeopardize listed species. The court

concluded that the agency had not done enough analysis of the program’s impacts under

the ESA and NEPA or provided enough information to show that the mitigation

program was certain enough to occur to satisfy the requirements of the ESA. See 1-ER-

31–32; 4-ER-637–51. These kinds of errors are procedural in that they involve how

much analysis NMFS completed (or when it was completed), as opposed to suggesting

an incurable defect with NMFS’s substantive conclusions on jeopardy. See Nat’l Fam.

Farm Coalition, 966 F.3d at 929; see also 2-ER-275–76 ¶¶ 3–5 (discussing additional

analysis). When an agency commits only technical or procedural errors, it generally is

the case that the agency will “likely be able to offer better reasoning” and “adopt the

same [decision] on remand.” Nat’l Fam. Farm Coalition, 966 F.3d at 929 (quotations and

citation omitted); Florida Power & Light Co. v. Lorion, 470 U.S. 729, 744 (1985); Ashley

Creek Phosphate Co. v. Norton, 420 F.3d 934, 938 (9th Cir. 2005).

       The record eliminates any doubt that that is the case here. The court concluded

that the details of the prey increase program were insufficiently concrete for the agency

to rely on that program’s benefits to offset any harm to the whale from harvesting

salmon when the agency issued the biological opinion in 2019. However, the judicial

record before the district court at the remedy phase in 2022 showed that in fact the prey

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increase program has been funded (between $5.6 and 7.3 million annually) and

implemented each year since 2020. See 1-ER-36; 2-ER-255–57 ¶¶ 7–9; 2-ER-305–07,

310–11 ¶¶ 11, 13, 22 (“[W]e anticipate increases in prey abundance are near to or being

realized as we reach the 3–5 year maturation time frame following each year of

implementation.”); 2-ER-275–76 ¶¶ 3–5; 2-ER-284–85. Including fish from projects

funded by Washington State, the combined federal and state releases are “on track to

provide the benefits to [killer whales] that were anticipated in the [biological opinion].”

2-ER-275–76 ¶¶ 3–5; 2-ER-281–86; 5-ER-889 (anticipating funding from nonfederal

sources); 4-ER-663 ¶ 13.

      Even the district court noted that the “prey increase program—though

previously uncertain and indefinite in the 2019 [biological opinion]—has also now been

funded and begun providing prey the past three years.” 1-ER-36. The subsequent

implementation of the prey increase program as anticipated has effectively cured (or at

a minimum, greatly reduced the significance of) any error on NMFS’s part in relying on

the then-tentative program to reach its no jeopardy determinations in the 2019

biological opinion.

      Moreover, for every hatchery program receiving federal funding under the prey

increase program, NMFS has subsequently completed site-specific ESA and NEPA

analyses or identified existing ESA and NEPA analyses that evaluated the effects of

increased hatchery production, including impacts to listed salmon. 2-ER-276 ¶ 5; 2-ER-

100–01 ¶¶ 9–11; 2-ER-117–20; 4-ER-663 ¶ 15. Contrary to the district court’s bare

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conclusion that the agency’s errors were serious, 1-ER-41, this analysis suggests that

NMFS will be able to offer better reasoning on remand in support of its decision in the

2019 biological opinion to adopt the prey increase program at a framework level. The

continued implementation of that program under the existing framework will in turn

ensure that the agency can continue relying on that program’s benefits to the whale’s

prey base when it considers the effect of continued salmon harvest in the future.

       Yet, ignoring the new factual developments, the district court’s discussion of the

seriousness of the agency’s errors parroted its earlier conclusion that the agency relied

on “uncertain and indefinite mitigation measures.” 1-ER-31. This was clearly erroneous,

in light of the evidence that the prey increase program is in fact being implemented.

Moreover, to the extent that the stakes of an agency’s error under the ESA or NEPA

may be high if a listed species is in greater peril, the district court additionally erred here

by (as discussed further below, pp. 35–39) failing to consider whether the specific legal

errors it found would exacerbate the killer whale’s condition during the remand, given

that the remand period was expected to be short and the prey increase program has

been funded and operational for the past three years.

       C.     The limited benefits and devastating consequences of
              vacatur weigh heavily in favor of remand without vacatur.

       For the foregoing reasons, the district court erred in determining that the agency

committed “serious” errors for purposes of determining a remedy. But in any event,

even where an agency’s errors are “significant,” this Court has held that equitable



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considerations may lead to remand without vacatur. Idaho Farm Bureau Fed’n v. Babbitt,

58 F.3d 1392, 1405–06 (9th Cir. 1995). The district court abused its discretion in

weighing the equities, just as it did in weighing the seriousness of the agency’s error.

Therefore, regardless of whether this Court finds that NMFS’s errors were serious, it

should reverse on the ground that the district court independently abused its discretion

when it heavily discounted the disruptive consequences of vacatur while overstating the

benefits to killer whales from vacatur. 1-ER-33–35.

      At the outset, the district court erroneously believed that it was required to focus

primarily on potential environmental, versus economic, impacts when weighing the

equities. See 1-ER-33–34. Circuit precedent makes plain, however, that it is appropriate

to consider economic impacts. See California Communities, 688 F.3d at 993–94. The

district court also appears to have misunderstood the sweeping consequence of its

decision, which would effectively close the winter and summer seasons of the

commercial Chinook salmon troll fishery in Southeast Alaska. Although the district

court correctly held that vacatur of the incidental take statement “in and of itself does

not result in a prohibition on fishing,” 1-ER-35 n.17, 2-ER-68–69, vacatur had the

practical effect of operating as an injunction on the fisheries. Without exemption from

ESA Section 9’s prohibition on take in the incidental take statement, the State cannot

open the fishery without risking severe civil and criminal penalties. See 2-ER-250; 2-ER-

252; 4-ER-657.




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      The record before the district court demonstrated that vacatur would cause

losses of $29 million each year in an industry that helps ensure the livelihoods of

thousands of people. See 3-ER-516–22 ¶¶ 31–41; see also 2-ER-91–94 ¶¶ 34–40. Chinook

salmon are the highest value per pound of the five salmon species harvested in

Southeast Alaska, making them the most lucrative. 3-ER-514 ¶ 26. There are over one

thousand active permit holders who participate in the troll fisheries annually, and many

are small-scale participants who rely heavily on income from the troll fisheries. 2-ER-

517 ¶ 32; see also 2-ER-90, 94 ¶¶ 32, 41. The troll fisheries support over 23 communities

in Southeast Alaska, most of which are small, rural, and isolated, some of which are

Alaska Native communities, and some of which depend heavily on the commercial troll

fishery. 2-ER-517 ¶ 32; see also 2-ER-94 ¶ 41. If the incidental take statement is vacated,

businesses may close, and jobs will be lost. 2-ER-230–32 ¶¶ 4–7.

      The district court did not make factual findings concerning the extent of the

potential economic impact, instead noting the parties’ different estimates and

acknowledging that vacatur would “result in disruptive economic consequences for the

Chinook salmon troll fishery and the economy of Southeast Alaska,” but nevertheless

concluding that the economic impacts did not “overcome the seriousness of NMFS’s

violations given the presumption of vacatur, the harm posed to the [killer whale], and

the Court’s mandate to protect the endangered species.” 1-ER-35. The Conservancy

estimated an economic impact of the troll fishery around $9.5 million for the winter

and summer seasons. See 1-ER-35 (citing 4-ER-603–04). This estimate, however, did

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not account for economic impact beyond income. The data shows that the economic

output of the commercial troll fishery in the winter and summer, inclusive of the wages,

processing, and income from goods and services supporting fishing operations as well

as ex-vessel value (that is, the dollar value of commercial landings), would be

approximately $29 million every year. 2-ER-521 ¶ 40. The Conservancy also asserted

that only 2.6% of the Southeast Alaska seafood industry would be impacted, but any

number can be made to appear small by expanding the universe it is compared to. These

economic impacts will affect thousands of individuals and devastate the many fishing

communities that are dependent on the troll fleet. 2-ER-514, 517 ¶¶ 26, 32; 3-ER-516–

22 ¶¶ 31–41; see also 2-ER-91–94 ¶¶ 34–40.

      In short, individuals, businesses, and communities in Southeast Alaska will be

irreparably harmed by vacatur of the incidental take statement. See 2-ER-517 ¶ 32; 2-

ER-230–32 ¶¶ 4–7. This Court implicitly recognized as much when it held in granting

the stay that “the moving parties have established a sufficient likelihood of

demonstrating on appeal that the certain and substantial impacts of the district court’s

vacatur on the Alaskan salmon fishing industry outweigh the speculative environmental

threats posed by remanding without vacatur.” 2-ER-50. Vacatur is inappropriate when

it would cause “economically disastrous” impacts—as it will here. California Communities,

688 F.3d at 993–94 (rejecting vacatur because it would halt construction of a “much

needed power plant” that employed 350 workers); Am. Passage Media Corp. v. Cass

Commc’ns, Inc., 750 F.2d 1470, 1474 (9th Cir. 1985) (“[t]he threat of being driven out of

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business is sufficient to establish irreparable harm.”); Los Angeles Mem’l Coliseum Comm’n

v. Nat’l Football League, 634 F.2d 1197, 1203 (9th Cir. 1980) (acknowledging that the

potential closure of a business constitutes irreparable harm); Am. Water Works Ass’n v.

EPA, 40 F.3d 1266, 1273 (D.C. Cir. 1994); see also 2-ER-140; 9th Cir. Dkt. No. 22-3

(pages 48–100 of attachments to 9th Cir. Alaska Congressional Delegation Amicus

Brief). The severity of the economic impact here weighs heavily against vacatur, and the

district court failed to give these grave harms sufficient weight, particularly considering

the limited benefit that would accrue to killer whales from the closure of the fishery

(discussed in detail below, pp. 35–39) and the likelihood that NMFS will be able to

adopt the same approach on remand.

       In addition to causing tangible economic harm to communities, vacatur will also

disrupt the complex regulatory framework for managing fisheries, the balance struck by

the United States and Canada in the Pacific Salmon Treaty, and the balance struck by

Congress between Chinook salmon fisheries and killer whale preservation, all of which

the district court failed to adequately account for. See Weinberger, 456 U.S. at 312 (courts

“should pay particular regard for the public consequences” of equitable relief). The

fishery limits set forth by the 2019 Agreement were “the result of a complex bilateral

negotiation wherein the Parties sought to find an acceptable and effective distribution

of harvest opportunities and fishery constraints that, when combined with domestic

fishery management constraints, would be consistent with the fundamental

conservation and sharing objectives of the Treaty.” 5-ER-1053–54; 5-ER-879–83

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(explaining history of treaty negotiation process and noting that, absent an agreement

with Canada, NMFS was limited in its ability to consult on potential environmental

impacts of salmon); 5-ER-887–88 (“Because of the complicated relationships between

fisheries in Alaska, Canada, and the southern U.S. that are subject to the Agreement

and the need to find a balanced solution, it was necessary to see that all fisheries were

reduced.”). The incidental take statement—and fishing that occurs pursuant to the take

exemption included therein—is part of this comprehensive management scheme that

is designed to achieve the objectives of the 1985 treaty and 2019 Agreement, including

sharing limited fishery resources and conserving listed species. See, e.g., 5-ER-81–83

(explaining history of NMFS’s ESA consultation in relation to the treaty).

      Congress has decided to fund the prey increase program against this regulatory

backdrop, and with the understanding that commercial Chinook salmon fisheries

coastwide will continue to operate under the rubric of the 2019 Agreement, taking into

account the ESA status of killer whales and certain salmon populations. See 2-ER-255–

57 ¶¶ 7–9) (discussing appropriations); see, e.g., Consolidated Appropriations Act, 2020,

Pub. L. No. 116-93, 133 Stat. 2317 (2019); Consolidated Appropriations Act, 2021, Pub.

L. No. 116-260, 134 Stat. 1182 (2020); 4-ER-819–20 (Explanatory Statement Regarding

the House Amendment to the Senate Amendment to H.R. 133, Consolidated

Appropriations Act, 2021 at H7928). Although the district court believed that vacatur

would achieve its “mandate to protect the endangered species,” 1-ER-35, by vacating

the incidental take statement, its decision instead circumvents the balance struck by

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Congress. See United States v. Oakland Cannabis Buyers’ Co-operative, 532 U.S. 483, 497

(2001) (courts should not deprive “Congress’ ‘order of priorities,’ as expressed in the

statute” of effect) (citation omitted); cf. United States v. State of Wash., 459 F. Supp. 1020,

1106 (W.D. Wash. 1978), aff’d, 645 F.2d 749 (9th Cir. 1981) (the public interest is served

“by permitting the United States Government to honor its treaty obligations”).

       In addition to inappropriately discounting the severe social, political, and

economic consequences that would result from vacatur, the district court further

abused its discretion by overestimating the benefits. To obtain equitable relief in an

ESA case, a plaintiff must generally demonstrate “a definitive threat of future harm” to

the species absent that remedy. Nat’l Wildlife Federation v. NMFS, 886 F.3d 803, 819 (9th

Cir. 2015) (citation omitted); cf. Pac. Coast Federation of Fishermen’s Ass’ns v. Gutierrez, 606

F. Supp. 2d 1195, 1210 n.12 (E.D. Cal. 2008) (the issuance of an injunction based on

harm to individuals of a species is appropriate only where “the loss of those individuals

would be significant for the species as a whole”). No definitive threat of harm to killer

whales exists here.

       NMFS presented evidence supporting its expert conclusion that operation of the

fishery pending remand will not jeopardize the Southern Resident killer whale. 2-ER-

304–05 ¶ 10. As an initial matter, not all fish that go unharvested in the subject Alaska

fisheries will become available as prey due to “natural mortality and harvest in other

fisheries,” such as Canadian fisheries. 3-ER-516–17 ¶¶ 30, 31; 2-ER-89–90 ¶ 31. NMFS

estimated that fishing in all Southeast Alaska salmon fisheries—of which the fishery at

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issue here is only a part—would reduce prey availability for killer whales by an average

of only 0.5% in the coastal waters where whales are generally present during the winter

and an average of only 1.8% in inland waters where whales are generally present during

the summer. 2-ER-304 ¶ 9; 2-ER-57 ¶ 11; 2-ER-126 ¶ 11; see 5-ER-1126–27; 6-ER-

1192. These reductions, “particularly in the most important locations and seasons for

the whales, are small and . . . will not jeopardize their survival or recovery.” 2-ER-302

¶ 5. The reductions in prey expected to result from only the winter and summer seasons

of the commercial Chinook salmon troll fishery would necessarily be lower. It is also

worth noting that most of the salmon caught in Southeast Alaska fisheries are not from

salmon stocks (that is, certain groups of salmon) that are currently considered of

greatest importance to Southern Resident killer whales. 6-ER-1194–95 (“With the

exception of the Columbia River brights that have relatively large run sizes, the whales’

priority stocks are not a high proportion of the [Southeast Alaska] fisheries catch”);

compare 5-ER-1129 (showing that, with the exception of Columbia Upriver bright

stocks, the other stocks making the largest contributions to the Southeast Alaska catch

list are not high on the Southern Resident killer whale priority list) with 6-ER-1193

(showing the highest-priority stocks for Southern Resident killer whales—Puget Sound

and lower Columbia River fall stocks—account for only 2–3% of the total catch in the

[Southeast Alaska] fisheries); 5-ER-970–71; 5-ER-1130–31.

      NMFS and state, local, and tribal partners are also taking efforts to minimize

impacts to killer whales and promote recovery, such as imposing mandatory and

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voluntary vessel measures that reduce interference with killer whale foraging, cleaning

up or reducing inputs of harmful contaminants, conservation hatchery programs

(designed to restore wild fish populations), and habitat restoration projects. See, e.g., 2-

ER-310–11 ¶ 22; 6-ER-1193–95 (“starting in 2018, additional protective measures in

U.S. and Canadian waters are being implemented to reduce impacts from fisheries and

vessels in key foraging areas”).

       Relying on a declaration submitted by the Conservancy (which had projected that

operation of the Southeast Alaska Chinook salmon fishery would reduce prey by 6%),

the district court determined that “closing the troll fisheries in the manner requested

would increase prey available to” killer whales, though it declined to make any factual

findings over “how much prey” would ultimately reach the whale. 1-ER-34 (citing 4-ER-

608–10 ¶¶ 8, 10, 11). But NMFS’s experts reviewed the declaration and concluded that

it was significantly flawed. 2-ER-302–04 ¶¶ 6–9. First, the declaration did not include

most recent population updates (that is, the births of two calves in early 2022), and

relied on “outdated correlations of coastwide Chinook abundance and survival or

fecundity of [Southern Resident killer whales].” 2-ER-302–03 ¶ 6. The workgroup set

up to advise the Pacific Fishery Management Council on the effects of salmon fisheries

on Southern Resident killer whales found that these correlations “have weakened or are

not detectable,” and an expert panel “cautioned against overreliance on correlative

studies or implicating any particular fishery in evaluating the status of [Southern

Resident killer whales].” 2-ER-303 ¶ 7; 5-ER-972. In addition to this quantitative issue,

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the Conservancy’s declaration “overstate[s] the benefits that would likely be realized by

the whales.” 2-ER-303–04 ¶ 8. As noted in the declaration submitted by one of NMFS’s

experts with remedy briefing:

       Both the Chinook salmon prey and [Southern Resident killer whale]
       predators are highly mobile. Thus, not all of the Chinook salmon caught
       in [Southeast Alaska] troll fisheries would migrate south into [killer whale]
       habitat and those that would migrate south would not all survive or be
       intercepted by the whales.

Id.; see also 2-ER-513–16 ¶¶ 23, 29–30 (only a portion of the Chinook salmon harvested

in the winter and summer seasons would return to Southern Resident killer whale

habitat); 3-ER-516–17 ¶ 31. The Conservancy’s calculation was further flawed because

it failed to account for seasonal and spatial variability of Southern Resident killer whales.

2-ER-304 ¶ 9. The expert evidence submitted by NMFS showed that the Conservancy’s

declarant failed to account for all relevant factors in estimating the benefit of closing

the fishery.

       Instead of properly deferring to the agency’s expertise, Friends of Animals v. United

States Fish & Wildlife Serv., 28 F.4th 19, 29 (9th Cir. 2022); San Luis & Delta-Mendota

Water Auth. v. Locke, 776 F.3d 971, 993 (9th Cir. 2014), the district court declared in

cursory fashion that despite the admitted “uncertainty as to how much prey would

ultimately reach” killer whales, “closure of the fisheries meaningfully improves prey

available to the [whale].” 1-ER-34, 39. But the small reductions in prey availability

resulting from operating the fishery mean that any potential benefits of closing the

fishery are just as small. This is all the more true because the prey increase program has


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been in operation from 2020 to the present and has resulted in “a certain and definite

increase in prey,” 1-ER-36, available to whales during the remand period. See also 2-ER-

304–05 ¶¶ 9–10; 2-ER-54–55, 59 ¶¶ 7, 15; 2-ER-123–24, 128 ¶¶ 7, 15; 2-ER-94 ¶ 41;

2-ER-99 ¶¶ 6-8; 2-ER-99–16.

      This is particularly relevant given the short duration of the remand. NMFS plans

to complete its new analyses pursuant to the district court’s merits decision no later

than November 2024. 2-ER-145–46 ¶ 5; see also 88 Fed. Reg. 54,301, 54,302 (Aug. 10,

2023) (notice of intent announcing NMFS’s decision to prepare an environmental

impact statement). Any limited impacts to killer whales that might result from the

operation of the commercial Chinook salmon troll fishery during the remand period

will accordingly be minimal.

      Finally, vacatur has the potential to frustrate broader efforts to promote the

recovery of ESA-listed species. NMFS works with its regional partners, including the

States of Washington, Oregon, Alaska, and Tribes with treaty fishing rights, to manage

fisheries and mitigate the effects of the fisheries and to establish a suite of restoration

and recovery actions that benefit species such as endangered killer whales and

threatened Chinook salmon. NMFS, with its regional partners, has worked very hard to

promote actions that will recover killer whales. See 2-ER-310–11; 2-ER-332–36; see also

6-ER-1195 (“starting in 2018, additional protective measures in U.S. and Canadian

waters are being implemented to reduce impacts from fisheries and vessels in key

foraging areas”). One of these programs is the prey increase program, which balances

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the prey needs of killer whales with the coastwide fisheries that target salmon allowed

under the treaty. See 5-ER-887–89 (explaining that the United States decided to fund

the prey increase program and other mitigation measures to “mitigate the effects of

harvest and other limiting factors that contributed to the reduced status of Puget Sound

Chinook salmon and [Southern Resident killer whales],” in addition to reducing harvest

levels). Vacatur frustrates those efforts by pitting fishing communities against killer

whale conservation. See 2-ER-64–65 ¶¶ 25, 27; 2-ER-133–34 ¶¶ 25, 27.

      In sum, the district court lacked a sufficient basis for vacatur and abused its

discretion when it erroneously discounted the many disruptive consequences of vacatur

and improperly elevated the limited benefits provided to killer whales during the

remand period.

                                  CONCLUSION

      For all these reasons, the district court’s order should be reversed insofar as it

vacated the 2019 biological opinion and incidental take statement.




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                                        /s/Thekla Hansen-Young
                                        TODD KIM
Of Counsel:                             Assistant Attorney General
SHEILA LYNCH                            RACHEL HERON
Attorney                                REBECCA JAFFE
Office of General Counsel               COBY HOWELL
National Oceanic and Atmospheric        FREDERICK H. TURNER
   Administration                       THEKLA HANSEN-YOUNG
Seattle, WA                             Attorneys
MOLLY E. WATSON                         Environment and Natural Resources Division
Attorney                                U.S. Department of Justice
Office of General Counsel               Post Office Box 7415
National Oceanic and Atmospheric        Washington, D.C. 20044
   Administration                       (202) 307-2710
Juneau, AK                              thekla.hansen-young@usdoj.gov

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                     STATEMENT OF RELATED CASES

      Undersigned counsel is unaware of any cases that are considered related within

the meaning of Circuit Rule 28-2.



                                         /s/Thekla Hansen-Young
September 29, 2023                       THEKLA HANSEN-YOUNG
DJ# 90-8-6-08342                         Attorney for Federal Defendants/Appellants
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               CERTIFICATE OF COMPLIANCE FOR BRIEFS

       I hereby certify that this brief contains 10,379 words, excluding the items

exempted by Fed. R. App. P. 32(f). The brief’s type size and typeface comply with Fed.

R. App. P. 32(a)(5) and (6). I certify that this brief complies with the word limit of Cir.

R. 32-1.



                                             /s/Thekla Hansen-Young
September 29, 2023                           THEKLA HANSEN-YOUNG
DJ# 90-8-6-08342                             Attorney for Federal Defendants/Appellants
